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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
    In re:                                                     )          Chapter 11
                                                               )
    CELSIUS NETWORK LLC, et al., 1                             )          Case No. 22-10964 (MG)
                                                               )
                              Debtors.                         )          (Jointly Administered)
                                                               )

                   SERIES B PREFERRED HOLDERS’ LIMITED OBJECTION
                     TO DEBTORS’ MOTION FOR ENTRY OF AN ORDER
                 SETTING BAR DATES FOR SUBMITTING PROOFS OF CLAIM
                             AND GRANTING RELATED RELIEF

             Community First Partners, LLC, Celsius SPV Investors, LP, Celsius New SPV Investors,

LP, and CDP Investissements Inc. (collectively, the “Series B Preferred Holders”), as beneficial



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending
      LLC (3390); and Celsius US Holding LLC (7956). The location of Debtor Celsius Network LLC’s principal
      place of business and the Debtors’ service address in these chapter 11 cases is 121 River Street, PH05,
      Hoboken, New Jersey 07030.
holders, or investment advisors or managers of beneficial holders, of Series B Preferred Shares

issued by Celsius Network Limited (“CNL” and, together with its affiliated debtors and debtors

in possession, the “Debtors”), by and through their undersigned counsel, hereby submit this

limited objection (the “Limited Objection”) to the Debtors’ Motion for Entry of An Order (I)

Setting Bar Dates for Submitting Proofs of Claim, (II) Approving Procedures for Submitting

Proofs of Claim, (III) Approving Notice Thereof, and (IV) Granting Related Relief [Dkt. No.

1019] (the “Bar Date Motion”). 2 In support of the Limited Objection, the Series B Preferred

Holders respectfully state as follows:

                                            Preliminary Statement

           1.       The Bar Date Motion is premature due to the state of the Debtors’ Schedules.

    The Debtors filed schedules that list the same customer claims against each Debtor, while at the

    same time disclosing that parties dispute this contention (the “Liability Issue”). A critical

    component of any procedure to resolve the Liability Issue will require notice to customers. The

    Bar Date Order should set forth the process for a global resolution of the Liability Issue,

    whether through an adversary proceeding resolving such issue or otherwise, and as approved by

    the Court following notice and a hearing (the “Liability Issue Procedures”), including the effect

    that such Liability Issue Procedures may have on customer claims. Until the Liability Issue

    Procedures have been finalized and approved, the holders of customer claims cannot be given

    proper notice as to how their claims will be dealt with. The Series B Preferred Holders




2
      Capitalized terms used but not defined herein have the meanings ascribed to them in the Bar Date Motion.

                                                          2
    therefore request that the Court defer approving the form of the Bar Date Notice until the

    Liability Issue Procedures are approved and in place. 3

           2.       In addition, the Debtors have failed to schedule customer claims in U.S. dollar

    amounts as required by Bankruptcy Rules 1007 and 9009 and the Official Forms. The Series B

    Preferred Holders have sought to rectify this violation of the Bankruptcy Rules through a

    separate motion to require the Debtors to amend their Schedules to include the U.S. dollar

    amount of customer claims. 4 Sending customers proof of claim forms without disclosing the

    aggregate dollar amount of each claim will only require sending new notices to customers after

    the Debtors amend their Schedules. The Court should avoid this unnecessary expense and

    confusion and defer ruling on the Bar Date Motion until the Court has ruled on the 1009

    Motion.

           3.       The Bar Date Motion has other problems. The Debtors are seeking, among other

    forms of relief, approval of a Proof of Claim Form that includes several variations from Official

    Form 410. Among other variations, the proposed Proof of Claim Form (i) includes a box for

    holders of “Account Holder Claims” to check making such Claims against “All Debtors” (a

    “Universal POC”) and (ii) “require[s] all holders of Claims based on cryptocurrency held in

    accounts on the Debtors’ platform to list the number of units of each cryptocurrency held in lieu

    of denominating their Claim in United States dollars.” 5 Instead of being ministerial in nature,

    these variations may improperly impact two critical, substantive issues that need to be resolved



3
      On October 21, 2022, the Debtors proposed a briefing schedule to address certain issues that should be resolved
      ahead of proposing any chapter 11 plan, including the Liability Issue . Following an initial meet and confer
      call, the Series B Preferred Holders made a counterproposal and discussions as to the appropriate procedures
      remain ongoing.
4
      Series B Preferred Holders’ Motion Pursuant to Bankruptcy Rule 1009 for Entry of an Order Directing the
      Debtors to Amend Their Schedules [Dkt. No. 1183] (the “1009 Motion”)
5
      Bar Date Motion ¶ 16.

                                                          3
    in these cases: (i) the Liability Issue and (ii) whether all claims asserted in these cases must be

    denominated in U.S. dollar amounts as of the Petition Date, as opposed to units of

    cryptocurrency (the “Denomination Issue”), and will likely lead to significant confusion for

    customers.

              4.       The Series B Preferred Holders ask the Court to refrain from approving the Bar

    Date Notice until there is resolution of the Liability Issue Procedures and Denomination Issue.

    If the Court, however, does consider the form of the Bar Date Notice before such resolution,

    the Series B Preferred Holders object to the Bar Date Motion (i) unless the Bar Date Notice

    and Bar Date Order notice customers that all Proofs of Claim asserting customer claims,

    including Universal POCs and customer claims listed in the Schedules as “undisputed,”

    “liquidated,” and “noncontingent” (the “Customer POCs”), are subject in all respects to the

    Account Holder Claim Ruling, and (ii) to the extent that the Proof of Claim Form directs

    customers to denominate their claims solely in units of cryptocurrency, instead of U.S. dollars

    as of the Petition Date.

                                                   Limited Objection

    I.        The Debtors Must Provide Significantly More Information About the Liability
              Issue.

              5.       The Debtors acknowledge in their Bar Date Motion that the Liability Issue is a

    significant gating issue yet to be resolved pursuant to the Account Holder Claim Ruling.6

    Yet, nowhere in the proposed Bar Date Order or Bar Date Notice is such ruling or the Liability

    Issue Procedures even mentioned. Instead, the procedures for which the Debtors are seeking




6
         Bar Date Motion ¶ 15. The Debtors have acknowledged as much since day one of these cases. See, e.g., First
         Day Hearing Presentation [Dkt. No. 45] at 3 (describing the Liability Issue as an issue “critical to the outcome
         of this case”).

                                                               4
    approval in the Bar Date Motion give customers filing Proofs of Claim the ability to file

    Universal POCs that would be deemed to have been filed against each Debtor, regardless of

    the outcome of the Liability Issue. 7 Customers, of course, also have the option to not file a

    Proof of Claim at all in reliance on the Debtors having scheduled all customer claims as

    “undisputed” against each Debtor in their Schedules. 8 Without more explanation, customers

    will necessarily be left in bewilderment as to what they need to do: (i) not file a Proof of Claim

    and rely on the Schedules, which may be amended, (ii) file multiple Proofs of Claim, or (iii)

    file one Universal POC. In fact, given that the Global Notes to the Schedules contain an

    express disclaimer (repeated verbatim in the Bar Date Motion) of any presumption of any

    customer claim’s validity or of any evidentiary value of the Schedules, 9 the option to rely on

    the Schedules appears to be illusory, and any prudent customer will file a Universal POC or

    multiple Proofs of Claim asserting a claim against every Debtor, whether or not such customer

    has a good faith belief that he or she, in fact, does have a legitimate claim against any Debtor

    other than Celsius Network LLC.

           6.       The proposed procedures would inappropriately and inefficiently leave open the

    question of whether parties in interest, such as the Series B Preferred Holders, need to object



7
      Bar Date Motion ¶ 18(e).
8
      Bar Date Motion ¶ 15.
9
      Bar Date Motion ¶ 15 (“For the avoidance of doubt, it is not the intent of the Debtors to create any
      presumption that account holders have Claims against each Debtor entity, as that issue is disputed by certain
      holders of the Series B Preferred Shares issued by Celsius Network Limited, and no creditor or other party
      should rely on the fact that the account holder claims are scheduled at each Debtor entity as dispositive as to
      this legal issue, which will be decided in the Account Holder Claim Ruling. To the extent the Court enters a
      final and non-appealable order with respect to the Account Holder Claim Ruling, the Debtors intend to amend
      the Schedules to the extent required by such ruling. At this time, to the extent an account holder agrees with the
      amount of their claim provided in the Schedules, there is no need to file an additional Proof of Claim to ensure
      that such Claim is asserted against each Debtor Entity. For the avoidance of doubt, nothing contained herein is
      intended as, or should be construed as, an admission or stipulation of the validity of any claim against any
      Debtor, any assertion made therein or herein, or a waiver of any Debtor’s rights to dispute any claim or assert
      any cause of action or defense against any party.”) (emphasis added).

                                                            5
 to potentially hundreds of thousands of Customer POCs to preserve their rights with respect to

 the Liability Issue. Even if the Series B Preferred Holders are permitted to do so by filing one

 omnibus objection, each and every customer would then have the right to reply to such

 objection, recreating the inefficiency problem that the Debtors purported to solve by

 scheduling customer claims as “undisputed,” “liquidated,” and “noncontingent.” 10 Further, if

 there is any question under the Bar Date Notice as to whether Customer POCs are in all

 respects subject to the Liability Issue Procedures, then it would also be likely that even after

 the Liability Issue is resolved through such procedures, the Series B Preferred Holders or other

 parties in interest would be left to object once again to each Customer POC to enforce the

 Account Holder Claim Ruling, thus repeating the process. To avoid this untenable, confusing,

 and remarkably inefficient situation, the Bar Date Notice must inform holders of customer

 claims that the Liability Issue Procedures will be put in place in the near future 11 and that, once

 the Liability Issue has been resolved by the Court, all Customer POCs will be deemed to have

 been filed against the appropriate Debtor(s) and disallowed or withdrawn as against any other

 Debtor(s). 12 With respect to the latter, a corresponding provision will have to be inserted in

 the Bar Date Order.

          7.       Accordingly, the Series B Preferred Holders are asking that the Court defer

 approving the form of the Bar Date Notice until the Liability Issue Procedures are in place. In



10
     See Bar Date Motion ¶ 15 (“The Debtors believe that scheduling any such Claims as contingent, unliquidated,
     or disputed would inequitably require each account holder to file a Proof of Claim against each Debtor Entity to
     preserve the rights to the issues to be decided through the Account Holder Claim Ruling.”).
11
     The Bar Date Motion does mention the possibility of “a to-be-commenced adversary proceeding” as a potential
     path to resolving the Liability Issue, but there is no indication as to who is expected to commence such an
     adversary proceeding or when. Bar Date Motion ¶ 14.
12
     The Series B Preferred Holders understand that certain customers may have claims against CNL directly (i.e.,
     not by virtue of their accounts at Celsius Network LLC), and it is not clear whether these customers are on the
     Master Service List, which includes only a consolidated list of the Debtors’ top 50 unsecured creditors. Case
     Management Procedures ¶ 9. As such, these customers of CNL may not be aware of the fact that their claims

                                                          6
 the alternative, the Series B Preferred Holders are asking that the Court (i) direct the Debtors

 to insert appropriate language in the Bar Date Notice informing customers that certain of their

 claims may be deemed disallowed or withdrawn pursuant to the Liability Issue Procedures and

 (ii) include provisions in the Bar Date Order that would preserve both the customers’ and all

 other parties’ rights with respect to the Liability Issue and clarify that all claims will be subject

 to the Account Holder Claim Ruling. 13

 II.        The 1009 Motion Needs to be Decided Before the Bar Date Notice is Distributed.

            8.        On October 25, 2022, the Series B Preferred Holders filed the 1009 Motion,

 seeking amendment of the Schedules to denominate claims in Schedules E/F in their U.S.

 dollar amounts as of the Petition Date, as required by Bankruptcy Rules 1007 and 1009. 1009

 Motion ¶ 5. If the Court orders the relief requested by the Series B Preferred Holders in the

 1009 Motion, the Debtors will be required to amend their Schedules with respect to customer

 claims. See 1009 Motion, Ex. A. It would therefore be inefficient for the Debtors to distribute

 a Bar Date Notice referring to the Schedules in their current state. If the Schedules were then

 amended following the Court’s ruling on the 1009 Motion, holders of claims would need to re-

 review the Schedules, as amended, to determine whether they need to file Proofs of Claim,

 and, in accordance with the Debtors’ proposed Bar Date Order, the Debtors would be required

 to provide notice to each affected holder of claims. Bar Date Order ¶ 5.

            9.        As such, to prevent this potential inefficiency, the Series B Preferred Holders

 are asking the Court to defer approving the form of the Bar Date Notice until the Court has




       against CNL are at risk of substantial dilution if the Committee’s position on the Liability Issue prevails. It is
       therefore imperative that the Bar Date Notice provide significantly more information about the Liability Issue.
13
       Absent this language in the Bar Date Order (and appropriate notice regarding the Liability Issue Procedures in
       the Bar Date Notice), the Series B Preferred Holders would be severely prejudiced if, following the Account
       Holder Liability Ruling in their favor, they have to object to each Customer POC.

                                                              7
 ruled on the 1009 Motion.

 III.     The Proposed Way of Handling the Denomination Issue is Improper.

          10.      Another variation in the proposed Proof of Claim Form relates to the

 Denomination Issue. Specifically, while the proposed procedures require “any other Claim” to

 properly be denominated in U.S. dollars, they direct “any Claim based on cryptocurrency(ies)

 held in an account on the Debtors’ platform” to, instead, list “the number of units of each

 cryptocurrency held in such account.” Bar Date Motion ¶ 18a. Indeed, nowhere does the

 proposed Proof of Claim Form ask customers for the amount of their claim in U.S. dollars.

          11.      While Bankruptcy Rule 9009(a) allows for alterations of the Official Forms,

 such alterations are generally minor and non-substantive. 14 The examples of such potential

 alterations contained in Bankruptcy Rule 9009(a) itself are as follows: “(1) expand the

 prescribed areas for responses in order to permit complete responses; (2) delete space not

 needed for responses; or (3) delete items requiring detail in a question or category if the filer

 indicates—either by check “no” or “none” or by stating in words—that there is nothing to

 report on that question or category.”

          12.      Thus, while it is true that the Court has discretion to adjust Official Form 410 to

 the needs of a particular case, it should not use such discretion to allow violations of the

 Bankruptcy Code and Bankruptcy Rules. Indeed, Bankruptcy Rule 9009(c) requires that the




14
     For example, of the five cases cited by the Debtors in paragraph 27 of the Bar Date Motion for the proposition
     that “Courts in this jurisdiction regularly deviate from the Guidelines,” only one, In re Voyager Digital
     Holdings, Inc., authorized a proof of claim form modified for anything other than the addition of 503(b)(9)
     Claims. In that case, the issue as to whether allowing customers to denominate their claims in cryptocurrency
     instead of U.S. dollars was proper was not raised.

                                                          8
 Official Forms “shall be construed to be consistent with the [Bankruptcy R]ules and the

 [Bankruptcy] Code.”

          13.      Allowing claims to be denominated in any units other than lawful currency of

 the United States is inconsistent with section 502(b) of the Bankruptcy Code, which provides

 that, upon an objection to a claim, the court “shall determine the amount of such claim in

 lawful currency of the United States as of the [petition] date . . . .” 11 U.S.C. § 502(b). As

 described in the 1009 Motion, courts have consistently interpreted section 502(b) to require

 that claims denominated in anything other than U.S. dollars be converted to U.S. dollars at the

 exchange rate prevailing on the Petition Date. 1009 Motion ¶¶ 15-16.

          14.      Furthermore, as more fully set forth in the 1009 Motion, if all claims are not

 denominated in U.S. dollars, such that they may be compared to one another and to the

 distributions thereon under the future chapter 11 plan, 15 it will be impossible for the Court to

 conclude that any proposed plan is confirmable because it would be impossible to determine

 whether the plan complies with the Bankruptcy Code’s requirements. 1009 Motion ¶¶ 17-18.

          15.      To comply with Bankruptcy Rule 9009(a) and section 502(b) of the Bankruptcy

 Code, and for the purpose of making plan confirmation possible in these cases, the Proof of

 Claim Form must require that all claims be stated in U.S. dollar amounts as of the Petition

 Date.

                                                   Conclusion

          16.      Accordingly, the Series B Preferred Holders respectfully request that the Court

 (i) defer approving the form of Bar Date Notice until the Liability Issue Procedures are in

 place and ruling on the 1009 Motion or, alternatively, (ii) before approving the Bar Date


15
     One unit of cryptocurrency is not necessarily comparable to another because customers hold a variety of
     different cryptocurrency coins, as set forth in Section 7 of the Debtors’ proposed Proof of Claim Form.

                                                         9
Motion, direct the Debtors to make the changes to the Bar Date Notice and the Bar Date Order

to address the issues identified herein, and (iii) grant the Series B Preferred Holders any other

relief that is just.


Dated: October 25, 2022
       New York, New York

Respectfully submitted,


/s/_Dennis F. Dunne______________                 /s/_Joshua M. Mester______________
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